18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 1 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 2 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 3 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 4 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 5 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 6 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 7 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 8 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 9 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 10 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 11 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 12 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 13 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 14 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 15 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 16 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 17 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 18 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 19 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 20 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 21 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 22 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 23 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 24 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 25 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 26 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 27 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 28 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 29 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 30 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 31 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 32 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 33 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 34 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 35 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 36 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 37 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 38 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 39 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 40 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 41 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 42 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 43 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 44 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 45 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 46 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 47 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 48 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 49 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 50 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 51 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 52 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 53 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 54 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 55 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 56 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 57 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 58 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 59 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 60 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 61 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 62 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 63 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 64 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 65 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 66 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 67 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 68 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 69 of 70
18-53127-mlo   Doc 1   Filed 09/26/18   Entered 09/26/18 13:51:06   Page 70 of 70
